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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                   Southern District
                                                __________  District of
                                                                     of Florida
                                                                        __________

QUEENS HOSPITALITY, LLC, A FLORIDA LIMITED                      )
          LIABILITY COMPANY                                     )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No. 1:19-cv-22908
                                                                )
BREAKFAST BITCH LLC, A CALIFORNIA LIMITED                       )
           LIABILITY COMPANY
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) BREAKFAST BITCH LLC
                                       C/O MANDOUR & ASSOCIATES, APC
                                       16870 W. BERNARDO DRIVE, SUITE 400
                                       SAN DIEGO, CA 92127




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       QUEENS HOSPITALITY, LLC
                                       C/O DISCHINO & SCHAMY, PLLC
                                       4770 BISCAYNE BLVD., SUITE 1280
                                       MIAMI, FLORIDA 33137



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:     Jul 15, 2019
                                                                                     Signature of Clerk ors/Deputy
                                                                                                             Valerie  Martinez
                                                                                                                   Clerk
